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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF COLORADO


        In re: REAGAN, MAIREN R                                        §    Case No. 18-16796
                                                                       §
                                                                       §
   Debtor(s)                                                           §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          Jared Walters, chapter 7 trustee, submits this Final Account,
 Certification that the Estate has been Fully Administered and Application to be Discharged.

          1) All funds on hand have been distributed in accordance with the Trustee's Final Report
 and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee's control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

         2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
 discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $320,500.00                           Assets Exempt: $80,500.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$3,939.59              Claims Discharged
                                                        Without Payment: $902,156.99

 Total Expenses of Administration:$1,438.43


          3) Total gross receipts of $     5,582.55       (see Exhibit 1 ), minus funds paid to the debtor
  and third parties of $      204.53 (see Exhibit 2    ), yielded net receipts of $5,378.02
 from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


  SECURED CLAIMS
  (from Exhibit 3)                        $262,610.44             $0.00               $0.00             $0.00

  PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           1,438.43           1,438.43          1,438.43

    PRIOR CHAPTER
    ADMIN. FEES AND
    CHARGES (fromExhibit 5 )                     0.00               0.00               0.00                 0.00
    PRIORITY UNSECURED
    CLAIMS (from Exhibit 6 )                     0.00               0.00               0.00                 0.00
  GENERAL UNSECURED
  CLAIMS (fromExhibit 7)                   326,255.35       1,625,751.08         906,096.58          3,939.59

                                          $588,865.79      $1,627,189.51        $907,535.01         $5,378.02
  TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on August 02, 2018.
  The case was pending for 25 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 08/21/2020                 By: /s/Jared Walters
                                        Trustee, Bar No.: 32287


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                            UNIFORM                                $ AMOUNT
              DESCRIPTION
                                                                                           TRAN. CODE 1                            RECEIVED
     tax refunds                                                                           1224-000                                   925.18

     preference levies                                                                     1241-000                                  4,004.55

     unpaid wages                                                                          1229-000                                   652.82


    TOTAL GROSS RECEIPTS                                                                                                            $5,582.55

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                            UNIFORM                                $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                           TRAN. CODE                                 PAID
 Mairen R. Reagan                                 overpayment of tax refunds               8500-002                                   204.53

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                             $204.53
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED                CLAIMS                 CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form             ASSERTED               ALLOWED            PAID
                                                       CODE                6D)
 NOTFILED-1 Eider Creek Condominium                    4110-000                     0.00          N/A                    N/A                     0.00
            Assn.
 NOTFILED-1 Seterus                                    4110-000             262,610.44            N/A                    N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $262,610.44                  $0.00             $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                  CLAIMS                 CLAIMS           CLAIMS
                                                       TRAN.
                                                                      SCHEDULED               ASSERTED               ALLOWED            PAID
                                                       CODE
 Trustee Compensation - Jared Walters,                      2100-000            N/A                   1,287.80          1,287.80           1,287.80
 Chapter 7 Trustee
 Trustee Expenses - Jared Walters, Chapter                  2200-000            N/A                     48.61             48.61                 48.61
 7 Trustee



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 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - International Sureties, Ltd.      2300-000         N/A                2.12          2.12         2.12

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Rabobank, N.A.                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - International Sureties, Ltd.      2300-000         N/A                1.46          1.46         1.46

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                5.00          5.00         5.00

 Other - Mechanics Bank                    2600-000         N/A                8.44          8.44         8.44

 TOTAL CHAPTER 7 ADMIN. FEES                          N/A                 $1,438.43     $1,438.43    $1,438.43
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                          CLAIMS               CLAIMS         CLAIMS       CLAIMS
                                         TRAN.
                                                  SCHEDULED            ASSERTED       ALLOWED        PAID
                                         CODE
                                               None

 TOTAL PRIOR CHAPTER ADMIN.                           N/A                    $0.00         $0.00         $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM     CLAIMS               CLAIMS
   CLAIM                                           SCHEDULED            ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.     (from Form          (from Proofs of     ALLOWED         PAID
                                         CODE          6E)                  Claim)
 NOTFILED-1 IRS                         5200-000                0.00         N/A                 N/A            0.00

 TOTAL PRIORITY UNSECURED                                   $0.00                  $0.00          $0.00       $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM     CLAIMS               CLAIMS
   CLAIM                                           SCHEDULED            ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.     (from Form          (from Proofs of     ALLOWED         PAID
                                         CODE          6F)                  Claim)
       1 -1 Rachel McQueeney            7100-000      N/A                    719,654.50            0.00         0.00

       1 -2 Rachel McQueeney            7100-000      N/A                    719,654.50      719,654.50     3,128.96

       2 -1 Strategic Funding Source,   7100-000      N/A                    184,029.94      184,029.94      800.14
            Inc.
       3 -1 Chase Bank USA, N.A.        7100-000      N/A                       2,412.14       2,412.14       10.49

 NOTFILED-1 HKM Employment Attorneys    7100-000       116,787.82            N/A                 N/A            0.00

 NOTFILED-1 Strategic Funding           7100-000       164,468.00            N/A                 N/A            0.00

 NOTFILED-1 MSCB, Inc.                  7100-000         4,546.00            N/A                 N/A            0.00

 NOTFILED-1 Citi Card                   7100-000        13,009.00            N/A                 N/A            0.00

 NOTFILED-1 Vinci Law Office, LLC       7100-000        21,125.00            N/A                 N/A            0.00

 NOTFILED-1 Bank Of America             7100-000         3,907.39            N/A                 N/A            0.00

 NOTFILED-1 Card member Service         7100-000         2,412.14            N/A                 N/A            0.00

 TOTAL GENERAL UNSECURED                              $326,255.35         $1,625,751.08     $906,096.58    $3,939.59
 CLAIMS




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                                                                                                                                                                                  Exhibit 8


                                                                                        Form 1                                                                                    Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 18-16796                                                                           Trustee:         (260090)    Jared Walters, Chapter 7 Trustee
Case Name:           REAGAN, MAIREN R                                                           Filed (f) or Converted (c): 08/02/18 (f)
                                                                                                §341(a) Meeting Date:        09/07/18
Period Ending: 08/21/20                                                                         Claims Bar Date:             01/31/19

                                   1                                           2                            3                      4                    5                     6

                     Asset Description                                    Petition/               Estimated Net Value         Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                      Unscheduled          (Value Determined By Trustee,   Abandoned             Received by       Administered (FA)/
                                                                           Values               Less Liens, Exemptions,      OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                              and Other Costs)                                                 Remaining Assets

 1        35 Pilot Knob Ln # 408, Telluride, CO 81435-9109                  315,000.00                                0.00                                    0.00                    FA

 2        Furniture, bedroom, kitchen, books/pictures, TV,                     3,000.00                               0.00                                    0.00                    FA

 3        Clothing                                                             1,500.00                               0.00                                    0.00                    FA

 4        Misc costume jewelry, earrings and topaz ring                        1,000.00                               0.00                                    0.00                    FA

 5        Checking Account: Alpine Bank (business account                             0.00                            0.00                                    0.00                    FA
          (See Footnote)

 6        Checking Account: Alpine Bank (personal account)                            0.00                            0.25                                    0.00                    FA

 7        tax refunds (u)                                                             0.00                      3,045.08                                    925.18                    FA
           fed $6423 less $2800 EIC, state $1578, 58.63% is
          estate property (See Footnote)

 8        preference levies (u)                                                       0.00                      4,004.55                                 4,004.55                     FA

 9        unpaid wages (u)                                                            0.00                       448.29                                     652.82                    FA

10        Property settlement due from ex (u) (See Footnote)                          0.00                   25,000.00                                        0.00                    FA

 10      Assets       Totals (Excluding unknown values)                    $320,500.00                      $32,498.17                                  $5,582.55                  $0.00


      RE PROP# 5            Business bank account not pursued as not property of estate.
      RE PROP# 7            Fed refunds intercepted for 2017 tax liability, which reduces estate portion to $925.18
      RE PROP# 10           husband voluntarily transferred interest in home to DR.



      Major Activities Affecting Case Closing:

                  5/28/20 TFR prepared; claims reviewed; no clerks fee due; order approving motion to approve at doc #32.
                  6/1 emailed TFR to USt.

      Initial Projected Date Of Final Report (TFR):          December 7, 2019                     Current Projected Date Of Final Report (TFR):       June 1, 2020 (Actual)




                                                                                                                                                  Printed: 08/21/2020 12:03 PM     V.14.66
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                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                         Page: 1

                                                         Cash Receipts And Disbursements Record
Case Number:         18-16796                                                                          Trustee:            Jared Walters, Chapter 7 Trustee (260090)
Case Name:           REAGAN, MAIREN R                                                                  Bank Name:          Mechanics Bank
                                                                                                       Account:            ******3766 - Checking Account
Taxpayer ID #: **-***8563                                                                              Blanket Bond:       $59,566,052.00 (per case limit)
Period Ending: 08/21/20                                                                                Separate Bond: N/A

   1            2                            3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                  $       Account Balance
10/28/18       {8}        RG Busch, PLLC                      preference recovery per order at 32                 1241-000              4,004.55                                   4,004.55
10/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,999.55
11/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,994.55
12/10/18      101         International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                         2.12            3,992.43
                                                              BALANCE AS OF 12/10/2018 FOR CASE
                                                              #18-16796, Bond # 016027974
12/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,987.43
01/31/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,982.43
02/28/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,977.43
03/29/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,972.43
04/30/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,967.43
05/31/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,962.43
06/28/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,957.43
07/31/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,952.43
08/30/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,947.43
09/30/19                  Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                         5.00            3,942.43
10/31/19                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            3,937.43
11/29/19                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            3,932.43
12/11/19      102         International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                         1.46            3,930.97
                                                              BALANCE AS OF 12/11/2019 FOR CASE
                                                              #18-16796, Bond#016027974
12/31/19                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            3,925.97
01/07/20                  Mairen Reagan                       payment of NE assets                                                      1,578.00                                   5,503.97
               {7}                                               prorated state refund                925.18      1224-000                                                         5,503.97
               {9}                                               wages                                652.82      1229-000                                                         5,503.97
01/31/20                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            5,498.97
02/28/20                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            5,493.97
03/11/20      103         Mairen R. Reagan                    overpayment of tax refunds                          8500-002                                       204.53            5,289.44
03/31/20                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         5.00            5,284.44
04/30/20                  Mechanics Bank                      Bank and Technology Services Fee                    2600-000                                         8.44            5,276.00
07/01/20      104         Rachel McQueeney                    Dividend paid 0.43% on $719,654.50; Claim#          7100-000                                    3,128.96             2,147.04
                                                              1 -2; Filed: $719,654.50; Reference: NO #
                                                              LISTED
07/01/20      105         Strategic Funding Source, Inc.      Dividend paid 0.43% on $184,029.94; Claim#          7100-000                                       800.14            1,346.90
                                                              2 -1; Filed: $184,029.94; Reference: 5289
07/01/20      106         Chase Bank USA, N.A.                Dividend paid 0.43% on $2,412.14; Claim# 3          7100-000                                        10.49            1,336.41
                                                              -1; Filed: $2,412.14; Reference: 0568


                                                                                                        Subtotals :                   $5,582.55              $4,246.14
{} Asset reference(s)                                                                                                                           Printed: 08/21/2020 12:03 PM        V.14.66
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                                                                                                                                                                              Exhibit 9


                                                                                 Form 2                                                                                       Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:        18-16796                                                                      Trustee:            Jared Walters, Chapter 7 Trustee (260090)
Case Name:          REAGAN, MAIREN R                                                              Bank Name:          Mechanics Bank
                                                                                                  Account:            ******3766 - Checking Account
Taxpayer ID #: **-***8563                                                                         Blanket Bond:       $59,566,052.00 (per case limit)
Period Ending: 08/21/20                                                                           Separate Bond: N/A

   1            2                         3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                  $       Account Balance
07/01/20      107        Jared Walters, Chapter 7 Trustee   COMBINED CHECK FOR TRUSTEE                                                                   1,336.41                0.00
                                                            COMPENSATION, EXPENSES AND
                                                            INTEREST
                                                              Dividend paid 100.00%           1,287.80       2100-000                                                            0.00
                                                              on $1,287.80; Claim# ;
                                                              Filed: $1,287.80
                                                              Dividend paid 100.00%              48.61       2200-000                                                            0.00
                                                              on $48.61; Claim# ;
                                                              Filed: $48.61

                                                                                 ACCOUNT TOTALS                                    5,582.55              5,582.55               $0.00
                                                                                        Less: Bank Transfers                           0.00                  0.00
                                                                                 Subtotal                                          5,582.55              5,582.55
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                    $5,582.55              $5,582.55



                                                                                                                                    Net             Net                   Account
                                                                                 TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                                 Checking # ******3766                             5,582.55              5,582.55                0.00

                                                                                                                                 $5,582.55              $5,582.55               $0.00




{} Asset reference(s)                                                                                                                      Printed: 08/21/2020 12:03 PM        V.14.66
